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EDWIN J. RAFAL

 

September 3, 2021

REF: 89083-01
VIA HAND DELIVERY
The Honorable Roderick Young
United States District Court
for the Eastern District of Virginia
600 Granby Street, Suite 200
Norfolk, VA 23510

Re: United States of America v. Lori Ann Talens
Case No: 2:21er39

Dear Judge Young:

[have enclosed a letter from my client, Lori Ann Talens, along with several character letters
to be considered at her sentencing scheduled before you on Tuesday, September 14, 2021.

By copy of this letter to the United States Attorneys and the Probation Officer, lam providing
them with copies as well.

Thank you for your attention to this matter,

Very truly yours, f J

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Lawrence H. Woodward, Jr.

LHWjr:th
Enclosures
cc: Joseph L. Kosky, Esq.
Tara R. Gill, Probation Officer
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Lori Ann Talens

Virginia Beach, VA 23456

 

August 29, 2021

The Honorable Roderick C. Young
United States District Court
Eastern District of Virginia

701 E Broad St,

Richmond, VA 23219

Re: United States vs. Talens
Dear Judge Young:

lam deeply ashamed and embarrassed by the way I have acted. I have no excuse for

what I have done. I created counterfeit coupons which generated millions of dollars
in losses for several companies. Not only did I intentionally cheat them, but I know
I also harmed society through these losses and because of that companies had to
increase their prices on products to make up for the loss and it was impacting
everyone. | have also brought dishonor to my family by my foolish conduct.

IT realize I have served as a terrible moral example of how to act responsibly for my
three children. I will regret that the rest of my life. Before this happened, I lived my
life with honor and dignity. I took great pride in my reputation. I know that I have
thrown all of that way.

[ know I failed miserably. Somehow I completely breached the deep-seated morality
my parents instilled in me as a child. They taught me to know the difference
between right and wrong but I was blinded by my own greed. I am completely
responsible for my actions and know I have a serious debt to pay to society.

I accept full and complete responsibility for my actions and stand ready to face the
consequences. It pains me greatly that because of what my husband and I have
done that my children will be without parents for the foreseeable future. Still, I
fully recognize that 1s the price my family must pay because of our poor decisions.

Your Honor, the crimes I committed reflect a very dark period for me. I can offer no
excuses for my behavior. However, I hope you can appreciate that they only reflect
part of my life. There is much more to me than the crimes I committed and I greatly
appreciate this opportunity to share my story with you so that you might
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understand who I really am as a person. I also hope that after you know more about
me that you may be moved to grant me leniency and mercy in deciding my sentence.

Background:

My father Ireneo and mother Melinda first met in Honolulu in 1976 and were
married in 1978. My father worked for the Coast Guard for over thirty years and
received many promotions while in the service. My mother was a runway model. My
father is the only son in a family of eight children, and my mother was the eldest

one of ten children in her family. My father had a child named Irene from a
previous relationship, but her mother raised her, and I had almost no contact with
her throughout my life.

My mother had previously been married to a United States Marine while she was
living in the Philippines. She was only 15 years old at the time. My older sister
Melissa was born in 1972. While my mother’s husband stationed in the Philippines,
he acted wonderfully towards her. Unfortunately, that all changed when they
moved to Camp Lejeune in the United States. When they got back to the United
States, he ostracized my mother from her family back in the Philippines. He also
physically and verbally abused her. He raped my mother when she was eighteen
and she became pregnant. She filed for divorce and chose to abort the pregnancy.

My parents moved from Hawaii to Oakland, where I was born on December 6, 1979.
We did not have any family living nearby, and my father was frequently out on
deployment, effectively leaving my mother for months at a time to raise Melissa and
Tas a single parent. Sometime when he left, I would cry not understanding why I
could not have my father around as other children enjoyed.

My father and mother had a very close and loving relationship, but the distance and
requirements of my father’s job sometimes made family life challenging. My mother
worked as a cashier at a local grocery store to keep herself busy and make extra
money for the family. My brother John James was born in 1982.

Religion played a huge role in my life. We attended church as Seventh-Day
Adventists and I began attending Sabbath School at a young age after church
services. As I got older, I participated in group sports and activities during
Wednesday and Friday bible study sessions as well.

Early Education:

We moved to Fort Belvoir in Virginia in 1985, where I began attending elementary
school, The transition came easily because my paternal grandmother Phoebe, and

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aunts Violeta and Helen, began living with us. My father sponsored them to become
citizens of the United States since we come from a Filipino culture deeply rooted in
taking care of family. Virginia also had a sizable Filipino community and a large
Seventh Day Adventist church as an excellent support system. I performed well in
school, making Honor Roll and the Principal's List.

I shared a room with my grandmother and enjoyed being around extended family
for the first time in my life. My grandmother and aunts served as my caretakers
during my father’s deployments and when my mother worked. My mother took on
two jobs as a cashier to help pay the bills and to distract her from my father’s
absence which frequently lasted as long as six months at a time.

My sister Melissa began rebelling at the age of fourteen. At that time, I was 7 years
old. Melissa insisted that she wanted to meet her birth father, who she had not seen
for her entire life. My mother relented and sent her to stay with her father for the
summer. Sadly, he molested and raped her during this visit, taking her virginity.
My mother had no idea he had also molested his two children from a subsequent
marriage. He ended up going to prison, but that was little solace to my sister, who
never recovered from these incidents. I could not understand why my sister's
personality had changed so drastically. I felt confused and abandoned by her. She
spent the remainder of her teenage years running away from home, with my mother
calling the police to help find her and she moved out by the time she was 16.

We moved to Virginia Beach in 1985, and I switched schools. I initially felt timid
but quickly came out of my shell and adapted. In third grade, the school system
wanted to put me into an English as a Second Language course. This was because I
spoke broken English and began performing poorly in writing and reading
comprehension. This made me feel very insecure. My family spoke Tagalog and
Ilocano in our home as my grandmother and aunts tried to learn English. The
confusion of all the languages made things very difficult for me. Fortunately, my
parents then began speaking to me only in English, and I quickly caught up with
the rest of my class. Eventually my grandmother and aunts moved out on their own
as my parents sponsored my maternal grandmother for citizenship, and she moved
in with us until 1989.

We moved to Sitka, Alaska, in 1989. In fifth grade, I resumed making Honor Roll
and joined the dance team and school band, playing the flute. There is where I
learned to love the outdoors by hiking, fishing for hours with my dad and digging for
clams. I learned to cook and gut the fish starting at the age of 9. We stayed there
for 3 years and | loved it. We were active as a family in the Filipino community and
performed in parades and senior living homes and local theaters performing
Filipino Folk Dancing. We offered classes to all ethnicities for free at the schools

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and were featured in the local newspapers every year. This is where I learned to
volunteer in the community. I also had my first job by 10 years old babysitting the
neighbors kids in the military housing unit and had about 6-8 families that would
hire me to babysit as we all lived in connected townhouses. My father tried starting
his own printing business at home making business cards with photos on it made
from gloss paper. He was so enthusiastic about it he asked me to help him talk to
my schools. I was in 6th and 7th grade at the time and I saw his passion and
believed he would do great as they say people are less likely to throw away a
business card with your photo on it. So this is where my roots started on marketing
and promoting custom printing. His business cards and trading card business was
seeded and I started practicing my sales to my friends, team coaches, and the
schools. Though his business did not flourish, I believed in him and wanted to help
him as much as possible.

We next moved to Hawaii, where I attended eighth grade. I did not want to leave
our life in Alaska and go through the hassle of starting over in a new school and
environment. I began playing volleyball, and continued playing the flute. I also
went to Band Camp while in Hawaii. I kept trying to fit in but did not have a
chance to make many friends as we lived there for only one year due to my fathers
promotion we had to transfer. I found comfort in having my first boyfriend. I had to
keep the relationship secret from my parents because they would not have
approved. I had a job during the summer and after school to babysit for a family
that also transferred from Alaska in which employed me previously. I was also
active in a therapy counseling group for military children in my school. I took
advanced classes and got honor roll. Then we moved to Marinette Wisconsin.

Adapting to Wisconsin in 1998 was highly challenging because we were the only
Asian family in the community. I had always felt a bit different because of my
religion, but chose to rise to each challenge and prove myself by excelling in school
and activities. However, I now experienced overt racism for the first time. People
would and adults went out of their way to make nasty comments. One elderly
couple even derogatorily called me “Lady Chink” while I walked through the mall.

The experience was scarring and left a lasting impression. In Hawaii people are
proud to be Pacific Islanders and Asian and my new environment I was being
shamed for my race and experienced prejudice derogatory misconceptions. I became
very isolated and threw myself into my studies at Marinette High School. I also
joined the Pep Team and marching band, Pom Pom Dance Squad, and practiced the
flute three-to-four hours a day, finishing second place in a Regional Championship
in Ohio as a soloist.

My father’s career excelled while we lived in Wisconsin. He received several
promotions and a presidential commendation for his service. Newspapers
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nationwide even featured him for his rapid advancement and I was so proud.
However, he saw and understood our family’s extreme discomfort and pressed for a
redeployment.

Returning to Virginia:

We moved back to Virginia Beach in 1994 and my father was deployed up in New
York. He would drive home on weekends to spend time with the family. The work
and living arrangement put a strain on the family, but we were once again living
around family, in a solid Filipino community, and near a Seventh Day Adventist

church we could regularly attend.

I developed a strong work ethic since the age of 10 years old and watching my
parents as role models. My father's dedication to his career was inspiring and my
mother’s hard work at odd jobs left a clear impression on me. I began working the
day I turned fifteen and a half, the first day I could and got a workers permit. My
first job was Burger King and left after a month because Wendy’s offered me 25
cents more an hour. I started at Wendy’s, but my hours were limited because I was
a minor. So, in order to make more money, | took on an additional job at Spinnakers
as a hostess. During the summers, I took on a third job at a make-up store called
Meryl Norman.

After high school I also took 600 hour course in massage therapy, while working for
a Chiropractor as their office manager and later became a therapist there post
certification at Edgar Cayce School of Massotherapy. I also worked at Suncom
AT&T, where I learned I had a real knack for sales winning top performing sales in
the nine state region as a part time representative.

I initially stayed heavily engaged in school. I earned high grades, joined the Filipino
Social Club, became a librarian assistant and the swim team manager. However, |
began to fall in with the wrong crowd. I wanted to hang out with the popular kids at
school. I felt mainly influenced by my cousin, Cheryl. I lived and shared a room with
her for 4 months as our house was being built. She is one month older than me and
I longed to be her friend and join her social group as she was one of the most
popular girls in high school who dated one of the most popular guys in school
because her boyfriend was a rich drug dealer.

One day, when we went to the mall, Cheryl and her friend shoplifted from a local
store. I initially refused, but they threatened not to allow me to hang out with them
and their social group. So, I shoplifted a mens cologne bottle she asked me to grab
so she can give to her boyfriend. To this day, | am ashamed I lacked the courage to
choose a different path, but the peer pressure was just too much. I desperately
wanted these friendships to work and did not want to be rejected.

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My slide into serious delinquency accelerated when I began dating Alfredo in which
Cheryl introduced me to. He drank, smoked, was a runaway from home, and
smoked marijuana. I started doing the same thing. He was expelled from school and
ran with a local gang. For me, this relationship felt exciting and daring, especially
considering the sheltered life in which I had been raised and I wanted to be like my
cousin Cheryl and have a popular “bad boy” boyfriend too.

My father's lengthy absences made it easy for me to hide all this from my family
and left me rationalizing my behavior. I began skipping school and spending all my
time with Alfredo, who began being controlling. He cut me off from my female
friends. I barely graduated from college in the face of this overbearing relationship.

During high school, I also developed a passion for repairing and remodeling cars.

My father always raised me to be independent and repeatedly told me “Do not go for
the guy with fancy car, you be the woman with the fancy car and a power suit.” So I
strived to make him proud and have that fancy car. I could do everything from a
masking and sanding paint to prep for a new paint job and detailing and pressure
washing the engine. I learned how to renovate exteriors to make them look brand
new. I saved up money to upgrade and customize my car to enter and compete with
it in auto shows for trophies and recognition.

[ entered my first car in an auto show at the age of eighteen. Many people mocked
me and thought I would be completely wasting my time, including my mother.
However, my car won an award. I earned recognition from sponsors who wanted to
sponsor me in future events and people interested in having me model for their
calendars and magazine. I began regularly attending the Auto Show circuit and
developed a career as a spokesmodel. I started locally, expanded regionally and
eventually got hired for shows in Florida, New York, Las Vegas, and all over the
United States.

Early Career:

At seventeen, while working at Wendy’s, a lady came through the drive-thru and
gave me her business card. She offered me an opportunity to work as a lingerie
store. I had no idea what to expect and thought I might be interviewing at a
clothing store. I showed up and uncomfortably learned that the position involved
modeling lingerie in private shows for men. I had a gut reaction to walk away.
However, | also felt intrigued by this next step in rebelling against my parents,
especially after learning how much | could earn. I had my first experience of
modeling with lonely, older men objectifying me. I worked there part time for a few
months and quit. I wanted to pursue working at AT&T instead and be able to focus
on my car show touring schedule and modeling for magazines and vendors.

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Alfredo became very jealous of my new career modeling at car shows and all the
attention I received and didn’t want me to model. Alfredo became more and more
psychologically abusive. He would do things like punch the wall next to my head,
shake me and speed the car as he drove, threatening to kill us both. I broke up with
him to pursue my dreams and advanced into spokes modeling. I had a successful
career and my family was very proud. I was featured in over 30 different
international magazines. I also was featured on Spike TV in which they did a
feature segment on me and my car and I was featured with my car in an
International Magazine called Euro Lowrider. I made a lot of money working on
weekends as magazines paid me $300/hour for my photoshoots. I also got to keep all
my proceeds autographing the calendars, posters, and magazines | was featured in
offering signatures for $5 - $25 each and taking pictures.

Over time, I began to receive more offers than I could handle. So, I saw an
opportunity to become an entrepreneur as well. I earned commissions helping
people place sponsors by designing their press kits. I also opened a company named
IEC Modeling to help women learn how to become auto show models, earning a fee
each time I booked them for a job.

In January 2008, | returned home to Virginia Beach after a modeling event. I was
feeling lonely and distraught after a break-up with a boyfriend. I had been living
with him while paying all his expenses, including education, only to have him steal
$60,000 that summer from me on a car show event I held in the Virgina Beach
Convention Center that I had paid for. We had over 10,000 spectators and he had
the funds wired to his personal account instead of my business account.

I went out for the night with friends and bumped into Alfredo. He went into full
charm mode and caught me in a susceptible moment. I fell into his arms on the
rebound as he promised he would no longer be jealous about my career.

A Rocky Marriage:

We began talking again in February of that year and started dating in March. He
convinced me to stop taking birth control pills saying the pills changed my attitude
and put me in favor of spermicidal tablets. I ended up getting pregnant in April.

My religious beliefs had me dead set against abortion, and my parents would have
been furious if I had a baby out of wedlock. So, we got married in July, and our son
Armando was born in December of 2008.

Four months later, we moved in together. As we began moving furniture into our
home when I discovered spermicidal tablets scattered everywhere along the carpet

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under the bed. Alfredo insisted he had to put the tablets inside me so that they
would get in deep enough to be effective. He lied to me and never inserted a single
one. Alfredo never truly supported my career and wanted to control me and root me
down with a baby. He also thought the pregnancy would ruin my body, so I would
not be able to model again.

I was furious and confronted Alfredo, who then guilted me by saying, "so, you're not
happy to have our baby?" That calmed me down because I loved Armando and felt
happy to be a mother. However, it also made me realize how foolish I was to get
back together with him. | trained harder than ever and got back into shape. I began
winning bikini contests again only four months after giving birth.

Alfredo began abusing me the first day I came home from the hospital birthing our
son 3 days after my c-section. He felt safe doing so because my parents had been
vacationing in the Philippines. Alfredo began shoving me and treating me like
property again almost tearing my stitches. He also emotionally battered me. He
constantly belittled me, and I started feeling insecure, dependent, and trapped even
as my career and modeling company recovered and continued to be successful. I
coped with the stress by drinking heavily and using marijuana to excess almost
daily. Marijuana became an addictive habit that would last me the rest of my life.

Alfredo graduated from verbal to physical abuse. He started to beat me, throwing
me around, and putting me in headlocks. The episodes were always the same.
Alfredo would abuse me then saying how sorry he was, begging for my forgiveness
and telling me that he would change. However, he never did. I hid my bruises and
cuts with make-up and clothing.

I secretly began going to Samaritan House seeking support to remove myself from
the relationship. Alfredo’s mother found out, and so did one of his aunts. They tried
speaking with me about it. They told me I must have done something to make him
angry and that I should keep things quiet. I called the police after one incident, and
Alfredo’s mother and aunt convinced me to drop the charges. This repeated several
times. I finally found the courage to separate from Alfredo when he began abusing
our son, Armando.

Unfortunately, Alfredo convinced me that we could still cohabitate together and
raise our son. The final straw with Alfredo occurred after I signed a $90,000
modeling clothing line contract to tour with a wealthy couple at car shows. Alfredo
went out with some of his friends who whipped him into a fury, telling him I would
have an affair with the husband of the couple who hired me. Alfredo returned home
drunk and beat me for two-and-a-half hours with our son right there on the bed. At
one point, he even tossed Armando to the edge of the bed. He smothered me with a
pillow and my body was bruised it looked black after a couple days.

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I filed criminal charges and he self surrendered pleading guilty. I needed to be out
of the relationship. Before he turned himself in, Alfredo called my father to try to
explain what happened. Alfredo claimed he “did it again” and asked him to come
over that I needed him and that he will turn himself to the cops. In court his story
was different. He claimed he blacked out and remembered nothing. I stood my
ground and refused to back down and got a 2 year protective order. Alfredo
surrendered himself to the police and ended up pleading guilty to assault.
Unfortunately, he got what he wanted. I lost the modeling contract.

The Next Phase:

I built a printing business to complement my modeling agency. | still modeled but
much less frequently and I sought out other ways to support myself. Alfredo
dragged out our divorce by missing several court dates and by just being
obstructionist. In late, 2008, he finally agreed to the on the condition that I gave
him a half interest in all my businesses. I agreed and then shuttered the companies
one day later. I suffered a significant financial loss as a result, but it was well worth
it to have him out of my life.

I began working for Verizon Wireless, picking up where I had left off in high school.
I did very well. I broke sales records at the store and then in the region, which
resulted in me being placed in a corporate position. I skipped five quick promotions
in a short period and went from retail sales to corporate. I later took another job
with higher earning potential at AT&T wireless working the same position in
Business Sales.

In 2009, I began dating Pacifico. We knew each other back in high school as we were
introduced by Cheryl and he was best friends with her boyfriend. But back then we
became friends but never dated because he was a gang member of I.T.B. “Island
Trouble Boys” and he was too much of a “playboy” in high school with the girls and I
was a virgin when we met. It also intimidated me that he was stabbed back then
about a dozen times when he attacked someone for fun with his friends. Pacifico
had just recently divorced as well and seemed utterly broken. I felt compelled to
help. I thought I could fix him.

Pacifico’s divorce stemmed from an embezzling case against him and his ex-wife in
which they both stole over $100K from her employer Port of Norfolk. She worked
payroll and would write out checks payable to Pacifico and herself. He blamed her
for the divorce and played victim, and unfortunately I believed him. I should have
known better since Pacifico, like Alfredo, did drugs and ran with gangs back in high
school. However, I thought he had changed. I offered to lend him money to pay off
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debts and took over his car and cell phone payments since I received a preferred
rate working at AT&T in corporate sales.

Pacifico and I married in December of 2010. The marriage was hasty because
Alfredo tried to put a child custody restriction on me for having a man over the
house after 8 pm. My solution to that problem was to marry Pacifico since we were
already dating exclusively and living together. Much to my dismay, I soon found out
that I had simply traded on abusing husband for another.

Here’s one example. I was a huge Minnesota Vikings fan and Pacifico lifelong
devoted to the Washington Redskins. We attended a live game between the two, and
I cheered loudly when the Vikings took the lead. Pacifico got upset and left mid-
game, leaving me alone in the stands the rest of the game.

I found him later in the parking lot angry and drunk since his team had lost. He
acted out in front of his friends, telling me I needed to know when to shut my
mouth. He took a swing at me, and I leaned in to block it with my shoulder since I
had taken defense classes after my experience with Alfredo. I then instinctively
swung back, slapping him hard on his face. I had a huge bruise on my deltoid after
that.

Pacifico and I reconciled after the fight, and I got pregnant a few months later. Our
son Pacifico III was born on Halloween 2011. Pacifico had settled down quite a bit
during my pregnancy, but he quickly grew resentful parenting a newborn. We did
not have money for babysitters, and he loathed full-time parenting.

Pacifico frequently came home drunk and trashed the house to lash out at me. He
did not get physically abusive because his parents kept him in line after the last
time he punched me. Unbeknownst to me at the time of my marriage, Pacifico
physically abused his first wife. Pacifico’s parents did their best to ensure it would
not happen again. However, he would destroy everything that I worked so hard to
pay for or of value to me and threw things at me. For example he smashed
premarital assets that were my 70 inch and 65 inch LED TVs and my dresser
mirror and the smashed the hood of my show car that I spent over a decade
building. He’d also fake punches to make me flinch or lean in as | passed in the
hallway to shove or bump me. He even put fake charges on me to use as leverage to
make me drop charges on him. He said “I will drop charges if you drop the
charges”.

I got regular bonuses at work and jumped from Verizon to AT&T to earn a better
salary. After AT&T I went to Cox Business and I became the region’s top
salesperson through networking. I decided to join the Chambers of Commerce of
Asian and Indian communities, helping them fundraise for crisis and disaster relief.

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I would also organize dinner banquets to raise money for them as well. I later
moved on to Windstream, a data solutions and telecom company focused on fortune
500 companies and school districts. They approached me while I was working for
Cox Business and offered my a higher position and double my salary base with a
“No Cap” commission bonus. At cox I had a limit on the maximum commission I
can earn so | left Cox and immediately started at Windstream working as a Senior
Account Executive III.

I separated from Pacifico in 2014 and intended to filed for custody & support of our
son. Just as I always did, I escaped reality by spiraling into daily use of marijuana
to escape my problems. After I filed, Pacifico went into charm mode and convinced
me to drop it claiming things would be better if I did not work, converted
catholicism to appease his parents, and would let him be the sole breadwinner for
the family. Although that cut our income down from over $110,000 a year down to
$40,000, but I wanted to have a happy family life and though we could make it
work. I was on medical bedrest with our daughter and had a high risk pregnancy.
We almost lost her a couple times and I needed progesterone shots to keep from
miscarriage.

I also agreed to convert to Catholicism and spent eighteen months in services and
events at the Holy Spirit Church, donating time to feed the homeless and work at
halfway houses. We took the children to church and Sunday school and involved
them in swimming, art, and dance classes.

I got pregnant in 2014 and had our daughter Leilani in 2015, only to discover that
Pacifico still had a mistress named April Martinez. She was upset about our
reconciliation and pressed charges on me which were all dismissed. I felt so
frustrated, helpless, and alone, trying to make ends meet as a homemaker. So, I
began extreme couponing using the same competitive spirit that made me
successful in the past. I saw it on TV while I was on pregnancy bed rest and decided
to self teach myself. I would legitimately get such things as a year’s worth of
detergent for mere dollars and free toothpaste for months. We even went to a
midnight sale after my daughter’s birth just to catch a major deal.

Pacifico tore his Achilles tendon in October 2015 and couldn’t work for a year. Our
family had to go on Medicaid and other governmental support. Pacifico then got laid
off for an additional six months once he could go back to work, leaving our family in
a dire financial predicament.

Pacifico was extremely jealous of my success. He worked as an electrician at a

shipyard and made less money than me. He was so spiteful that he would even call
my employer and try to sabotage my job. I stayed at Windstream for less than one

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year. They let me go when Pacifico filed a false charge against me to get me
arrested.

My Crime:

I became a Facebook Administrator for a Legitimate Coupon Group that I created
with the goal of trying to share savings and sales deals with other coupon
enthusiasts in Hampton Roads called “757 Couponing Brags and Deals”. My goal
was to help teach others how to shop effectively and save money at the same time. I
also became friends with someone else who also administrated a local Hampton
Roads coupon group on facebook. Through social media she learned that I had
graphic designs background and means of printing with my business and she later
recruited me to create fraudulent coupons for a group she was in. I had not known
about fraud coupons until she slowly introduced me to it. She at first tricked me
into altering fake coupons for her and then showed me “it worked” and how she
used them. I thought she was just testing my graphics ability at first.

This opportunity appealed to my creative and competitive nature, reminding me of
times when people told me I could never be a model or successfully run a modeling
agency. The coupons she originally sent me looked horrible and fake. I knew I could
do better. The ones I created were almost flawless. The owner of the secret group
added me to her team of editors to fix her database of fraudulent coupons that she
had been creating, collecting and distributing for over a decade. I had to pay
monthly dues to be in this secret group on Facebook and paid her via paypal to have
access to hundreds of her fake coupons.

In 2017, I got recruited into a secret group operating on the Dark Web. I later self
taught myself how to create false bar codes making my services more valuable. I
began offering my coupons for sale to admins of these fraud coupon groups who did
the actual selling, screening of members, and splitting the profits with them. All of
the groups screened the members to make sure they were vetted and experienced
fraudulent coupon users. They had to show proof they actively use fraud coupons
with receipts and go through screening processes. Each group had hundreds or
even thousands of coupons in it that pre-existed for years and I was amazed this
world existed which cut the legwork of finding deals and making it easier to get
cheap or free products. I downloaded as many of the files as I could onto my
computer. One group in particular had the largest database I ever seen. Every
coupon imaginable was in the drive. The owner appointed me to be in her editor
group which had over a dozen graphics artists who designed and created fake
coupons. Since I was new, I assisted them in editing dates on the coupon. She had
a large client base and we all had to pay monthly dues to have access to these files.

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The group owner asked me to be her spy and to get membership in other rival
coupon fraud groups. These rivals used to be partners with her in her main group
and they left and started their own groups due to drama. She said she would pay
my membership dues for these groups and waive my fee in hers in exchange for my
loyalty to her and recruited me to become her spy. Since I was new to the
community people wouldn't think I was spying for her and would accept me in their
paid groups. I agreed and I ended up joining dozens of groups as her spy. My job
was to see if anyone had her files in their folders and I was to report back to her. My
perk was I got free membership to these other group and had an even bigger
database of fraud coupons that I could use if I wanted to for personal redemption.

I shared news of what I was doing with Pacifico. His initial reaction to my activities
was, "I'll believe you when I see the money. Or buy me this and buy me that.” He
later pressured me to do more and spend the money on him. He would otherwise be
mean and drunk and cold if I didn’t give him what he wanted. This is no way
excuses or justifies my actions. I was the one who helped create hundreds of
counterfeit coupons over the years and engaged in illegal activity. I share this just
so your Honor can understand part of my mindset at the time this all occurred. I
made the decision to download all those files from all those groups onto my
computer and am guilty of being in possession of those group files.

I used my newfound skillset to design a few dozen coupons and mass printed it on
professional paper through my e-commerce website. This made me look
professional with my creation as others in the groups simply printed their coupons
at home. My clients wanted the professional look and since it looked and felt like
the real thing I was nicknamed Masterchef. My e-commerce website it is exactly
like vistaprint.com. I do not own the printing press. It is owned by PrintingInABox.com

and I paid them $50 a month for my e-commerce website to get wholesale rates on
printing and design team access. They are based out of Florida and that is where
all coupons manufactured are sourced. People can upload files and mass print it. I
printed in 500-1000 increments. I believe I created a few dozen printed template
designed & printed coupons over the past few years. | have cooperatively gave full
access to the Federal Agents of my site on the back end so they can see exactly
which ones were of my creation to separate my designs from the thousands of files
that were gathered from other sources on my computer. I sold them via custom
order to experienced and vetted fraudulent coupon admins and experienced
members of these groups online. I then would ship them via USPS after they
placed the order through me or their group admins. If it was an admin they would
take their percentage from sale and send me the rest as I gave them a “broker/
reseller” rate.

Thad my group on skype and telegram. I also had my own team of editors/coupon
makers who I gave them free range to design and make coupons to make a database
for my paid member group and gave them printed coupons for their time.

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Some of the people I worked with on the Dark Web sold marijuana vaping products.
As a result, I discovered a new, easier, and more efficient way to get high. I grew
more addicted to potent marijuana products and was getting high daily. I bought
marijuana products in bulk, usually at about $1,000 at a time.

I also was ineligible for medicare benefits in 2017 when he went back to work and
when I started to make an income and I should not have let it renew. At the time
my husband did come and go as he pleased in our marriage and we did sleep in
separate rooms for 2 years because of his hostility towards me at the time. He
helped with the household income when he was there and J did not disclose that
info when renewing and am guilty of this. He was well aware of what I was doing
as he did not put me or the children on his healthcare insurance so he could have a
bigger paycheck. We both made that decision and I regret doing this. I took
advantage of renewing my benefits when others could have used the benefits for
their families.

Conclusion:

I know that the path to reconciliation starts with being committed to making
amends for my behavior. I also hope to someday find a way to repay the companies
from whom I stole. As part of my commitment to this goal, after I was indicted I
started school and have become nationally certified as a caregiver by the United
States Veterans Administration. I started working Uber Eats and delivered food
when | could and I was caregiver for my roommate who is 100% disabled veteran. I
wanted to prepare myself to be a great caregiver for my parents one day. I was
raised to take care of our elders and not put them in retirement homes. That way I
can earn a living through caregiving and still be home with the kids especially with
the covid pandemic.

There was a point that I did want to quit this industry. I hired a mentor to teach
me new trades and skillsets with cryptocurrency and I started spending less and
less time on coupons. As one of my mentors used to be a hacker and now his career
is a security expert protecting companies from hackers. I kept submerging myself
more to see what flaws are in the point of sales systems and coupons. I felt like if I
can create something that can do the opposite that 1t may be a good career move.
The market crashed and I had lost almost all my savings and I| ended up trying to
recoup my losses and stayed in the fraud industry but at the same time I was
learning how to trouble shoot point of sales systems trying to figure out weaknesses
in the systems.

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As part of that commitment to make amends, | offered to guarantee that this is a
life I never want to turn back to and offered to volunteer and help these retailers
end coupon fraud with the inorganic data string I created that worked nationally
but was unable to be read or decoded by other devices. This would make it harder
to replicate. | also wanted to make a guide for cashiers to spot fake coupons since I
was a master and spotting fakes. I] have also found solutions to end coupon fraud if
I could work with the security systems team to show them all the weaknesses in
their systems as each retailer is different. Since I also have over 20 years
experience with printing and graphics I also was offering to help with strengthening
coupon security features. This would bring an immediate halt to the ability to do
coupon fraud. Basically I would be shooting my own foot and helping the companies
that fell victim have a more reliable coupon system. I do understand that this kind
of implementation would cease tremendously the use of fraud coupons and would
interfere with ongoing cases so I whenever ready I would like to give back to the
community and companies and share my time to volunteer and give back in this
form. I have absolutely zero interest in returning to my past life of darkness. I only
have interest in making things right. If I can help save the companies hundreds of
millions of dollars every year with my assistance I can only pray I can be upon
society's good graces and maintain that path indefinitely and bring honor back to
my family name.

Currently [ have been continuing education on my own gaining more certifications
and am volunteering at the Christian Resource Center. | created a handbook to
help Minorities learn about becoming SWaM certified and how to apply since my
small business was SWaM certified and I had won contracts prior to my daughters
birth attaining government, U.S Navy military, and Virginia Department of
Education contracts with Strategic Marketing and Printing. I want to help
strengthen the community and small businesses succeed and be knowledgeable
about RFPs. (Request for Proposals) and how to do this for free. I just finished my
handbook and am scheduling my first class after Labor Day.

I knew that what I did was wrong. When I was finally confronted about my actions,
I quickly pled guilty and have been cooperating extensively with authorities to
assist in any way possible. I am currently assisting with well over a dozen cases and
IT assisted CIC with their most wanted list. I will continue to be ongoing with my
cooperation in the future to assist. While I am in prison, | plan on participating in
continuing education courses and doing anything else that is possible to prepare
myself for life after incarceration. I also hope to seek treatment in prison for my
significant marijuana addiction.

I know I committed a serious crime. I also know that I must accept the
consequences. I knowingly cheated companies and earned thousands of dollars that

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did not belong to me. I was blinded by greed and the need to feel successful, even if
that success was based on lies.

I have deeply and profoundly embarrassed my parents, who did their best to raise
me and teach me to be on a respectable and moral path. I have permanently
harmed my children, who will be raised without a parent in my absence. I will never
be able to forgive myself for hurting my family this way.

Your Honor, I recognize that my crimes were reprehensible. I need to begin the long
road back to being a productive member of society. I know it will be a long journey. I
am prepared to begin. The first step on that journey is full acknowledgement of my
crimes as well as the flaws in my character that caused me to commit them.

As I prepare to hear my sentence, I am focused on personal growth and making
things right. I will never return back to my darkest days or my self-destructive
behavior. When this is over, I will look for and find new ways to make a positive
contribution to my community.

I want to use my story to help other people avoid my mistakes. I hope my case
serves as a warning to anyone who rationalizes legal conduct during a time of
personal difficulty. I’ve lost my reputation. I’ve lost the respect of my community. I
harmed my own family and disgraced their good name. That shame and stigma will
follow me the rest of my life.

Your Honor, I accept full responsibility. Thank you for considering all I’ve offered
through this narrative. It was important for me to show you that Iam more than
just the crimes I committed. I hope you will find me worthy of leniency.

Very Respectfully.

_

Lori Ann Talens

 

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Lending God's People to the Wau ta be Saved ——
Acts AF

September 04, 2021

To: Honorable Roderick C Young United States District Judge

Subject: Character Reference Letter

My name is Pieri Burton, | am associate Pastor of Christian Way Ministries in Virginia Beach, Virginia. | am
writing this character reference letter for Mrs. Lori Talens whom I have had the privilege of knowing for
over (20) twenty years. Lori has always been a bright eyed, spunky entrepreneur who would give the shirt off
her back to anyone in need. She has chosen to volunteer her services at our Christian Resource Center where
she will be helping other small business owners become S.W.A.M certified, a much needed teaching in our
community.

I was made aware of her recent transgressions in which she has spoken lengthy to me about. She has
confessed to me her serious lack of judgement and exhibited and expressed both remorse and a strong desire
to address the personal issues at the heart of the matter. As her friend, I have been aware of many of the
struggles that have surfaced in her life. Prayerfully, through Christ and the holy spirit she is able to rectify
and transform into a new creation as 2 Corinthians 5:17 states. (Therefore, if anyone is in Christ, the new
creation has come: The old has gone, the new is here!

Lori has thus far shown a steadfast and resolute demeanor in moving past this mistake in a constructive and
successful manner. It is my hope that this letter regarding Lori Talens act as a positive and contributing

factor when the court considers this matter.

ely,

  

Pieri Burton
Associate Pastor
Christian Way Ministries

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349 Newtown Road. Virginia Beach. VA 23462: Email: cwminisirics 7 icloud.com: (737) 278-6460: wwvw.road2thecross.ore
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Mrs. Colette LaCompte
Lieutenant, USN ret.

a Beach, Virginia 23453
(757)

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Honorable Roderick C. Young, United States District Judge,

| have been a Virginia Beach resident since 1984. | own an investment property in
Virginia Beach and | am children’s book author. | am disabled veteran who served in
the U.S. Navy for 20 years. My daughter is a student at Virginia Commonwealth
University. My husband is currently stationed at Dam Neck Naval Base. My husband
has served in the U.S. Navy for over 20 years.

Lori Ann and | have been friends for more than 30 years. We attended elementary
and High School together. Lori Ann and | kept in touch regardless of our Fathers
active duty military schedules. Lori and | were able to maintain friendship despite my
frequent deployments, college life, & graduate school schedules. We didn't need to
talk everyday or even every week but | always knew that | could count on her to
support me when | needed her. It is difficult to maintain friendships during active duty
military service. | deployed on several warships over the course of 2 decades. Lori
always knew how and when to be a source of comfort and kindness during this
period. She helped me by attending several networking events. | was able to
acclimate back to civilian life with her assistance. We've participated in most of our
life’s major milestones together: weddings & births. She even did my daughter's
prom makeup.

We spend the majority of our time together cooking for each other. Our homes are a
quick 7-minute drive. | can escort my god children to the bus stop or we can jump in
each other’s pools with ease. She could walk in to my house and start cooking or
washing dishes and vice versa with comfort.

| know Lori Ann to be a leader in my community. She was the president elect of the
Filipino Cultural Center. She’s cultivated and maintains friendships that last the test
of time and inspire loyalty. She is very generous and altruistic, helping people in

difficulty. She knows how to listen and understands how to make others feel heard.

Lori is a longstanding member of Holy Spirit Catholic Parish. She volunteers time
and energy to the church on a consistent basis. She is good-hearted and charitable
with everything she is and has.

Lori is a devoted parent. | am Enzo and Leilani’s god-parent and | was a participant
in their baptismal rites. She loves her children with every ounce of her being. She
has always been a devoted daughter, mother, and friend. She has always dedicated
herself to her family and her friends.

Thank you for the opportunity to write this letter. | am available at any time to confirm
any of this information.

Sincerely,

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Colette LaCompte
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To: The Honorable Roderick C Young

United State District Judge

Re: Character reference for Court

Dear Judge Young,

My name is Raquel Bopp and | am writing in reference to the case with that involves Lori Ann Talens.

| have personally known Lori Ann for the past 7 years. | believe |am in position to speak to Lori Ann’s
moral character, so | hope you will take this letter into account when making your decision,

Lori Ann Talens in summary Is a great person and an excellent friend. She has been one of those person
that no matter what is there for you. She is a person with integrity and really makes a great effort to act
correctly at all times. Since, knowing her she has always been kind, generous and devoted te others.

Lori has a strong sense of duty, which applies to family, and community. She isa wonderful mother and
always has done what is best for her children and family.

| can truly understand how difficult it is for you to make a decision like this when you do not actually
know the person standing in front of you. | trust in God that you will look at my letter and all the
support that the family and friends are trying to provide you. Please, understand that Lori is the kind
the person around whom people want to have around in their lives.

Thank you
Very Respectfully,

Raquel Bopp
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Melissa Ann Gardiola

jinia Beach, VA 23462

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Your Honorable Roderick C. Young, United States District Judge
My name is Melissa Gardiola. | am writing this letter on behalf of my Friend Lori Ann Talens.

| have been Best Friends with Lori Ann Talens for over 1 years. We were each others maid of honor and | was also her
sponsor when she converted to Catholicism. | watched and mentored her for over 18 months as she attended over 6 hours a
week of bible study. She is one of my best friends and | am one of hers. | am the godmother of all three of her children and
she is the godmother of my son. | write this letter so that | can share my confirmation on her since | know her personally and
interacted with her regularly throughout the years. Lori Ann has always been an individual that | have looked up to. | have
only known and seen Lori to be a reliable and trustworthy individual who has always carried herself with respect and always
willing to help and to give to those in need and those whom surround her. Loriann has in the past made many contributions
to both her church not only monetary but with her time volunteering and donating items to women and children shelters. We
both have worked together numerous times helping feed the homeless at Holy Spirit Church. | also see her passion when
she would do promotions at local restaurants and bars spearheaded by herself and her former business Strategic Marketing
and Printing, she would host local food drives and toys for tots to donate to Samaritan shelter in which | would assist and
promote with her. All these wonderful qualities may not seem like the character that has recently been portrayed but | can
assure and attest that they have never left but have been put to the test and LoriAnn has had an internal battle that recently
she has been on the losing side of.

It saddens me to see my friend’s world spinning out of control by her own hand but my faith in her has been restored. Lori
Ann is remorseful for her actions and upset at her actions realizing that she not only lost herself, but that her victims, as well
as her family, and friends have all been affected by her choices and lack of judgment. She has done a lot of self reflection
and realized that any struggles, including depression, marital issues, financial issues, and family issues were all things that
she needed to seek spiritual guidance for. It brings me great joy to see that in this current moment she has sought after that
spiritual guidance turned to God and has looked to find inner peace. Over the years she has been depressed from her
abusive and failing marriage in which 2 years of it 2017-2019 they slept in separate rooms and she had excessive weight
gain. | have witnessed her let go of her toxic and demeaning marriage and has not only turned to God, but has taken a
healthy journey in making herself healthy. She could have coped in a toxic way, but she decided to reform her ways by
getting healthy for herself and children. She made a goal to workout regularly and eat healthy and has been motivation for
others to transform herself physically and spiritually. She is trying her best to stay focused and not drink alcohol or take
drugs and she does need all the support she can get to maintain this new healthy lifestyle. I'm proud to see she did
accomplish her goal losing over 60|bs as others did not think she could.

After finding out about her crime, she was deeply ashamed to even tell me or her friends that she was in trouble. | was
heartbroken at the same time compassionate about her wanting to immediately make amends and make things right. | saw
Lori Ann focus on finding herself and a new outlet. She started making masks with medical filters when no stores had them.
She wanted to make sure her friends and family were safe and she donated free masks to people in need. She even made
one that had a clear plastic on mouth and donated them for free for nurses who had deaf patients. She self taught herself
how to make masks in times of crisis. When Covid-19 broke out she went out of her way to bring me food and essentials.
She did this with her other family and friends who had immune deficiencies. These gestures of kindness shows her true
colors and this all happened throughout 2020. She is the mama bear of our group of friends always looking out for well-
being and she's even more loving and supportive towards her children. She homeschooled her children all year in fear of
covid and she only left her home for essentials. Her children are at an impressionable age and Lori Ann has been raising
her kids and praying with them being both mother and father since their dad left.

| can only hope that you find itin your heart to give Lori Ann a second chance at choosing the right path and rewriting the
next chapter in her life. She is a human being who came to a cross road and chose the wrong direction but the Beauty of life
is that our moral compass is like a GPS that can be rerouted and turned around. Lori Ann deserves the chance to show the
world who | know her to be and to do good with the skills and knowledge and all the Love that she has within her.

Respectfully Your,

Melissa Gardiola

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Ina J. Crouch
Nurse Care Partner, NCP
rive Virginia Beach VA 23464

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Dear Honorable Roderick C Young, United States District Judge:

Thank you for taking the time to read my letter today. I have known Lori Ann Villanueva Talens
as a great friend and a godmother to all three of her children for over 15 years. She is one of my
dearest friends and also my roommate. I currently reside with her and have moved in after she
told me she got in trouble with the law. I moved in Fall of 2020 to help her share the cost of
living as well as her mental support system as she is spiritually family through the eyes of the
church. I was shocked and troubled to hear about her case as I have always known her to be a
very upstanding, rational, and solid person. It is for these reasons that 1 am happy to write a
letter of reference for Lori Ann Villanueva Talens regarding this matter. I understand the
seriousness of this case however, I hope the court will show some leniency.

Lori Ann Villanueva Talens has been an upright character in our community and to her friends
and family. In our friendship, she has always been a very straight forward, loyal friend and has
always been there for me, especially when I was sick, first diagnosed with Graves Disease. She
made it clear to me how much she cares for my overall health when it significantly went into a
decline. It was she that put me on a healthy nutritional diet, worked on my overall fitness which
gradually helping me increase my strength and wellbeing. Lori was my main source of
emotional, mental, and physical support during those years. I cannot thank her enough or show
my appreciation enough to her for being there for me.

In addition to our friendship, she has been an upstanding member of our community from raising
funds and donations for various organizations and reliefs to promoting small time businesses
throughout the years. I personally have assisted her promotional events in which she organized a
canned food drive and toys for tots drive with her small business Strategic Marketing and
Printing before her and Pacifico got back together. Most of her contributions were given to the
Samaritan House as she wanted to give back for them helping her escape an abusive marriage.

Though her abusive husband Pacifico got her pregnant again she yearned for him to rehabilitate
and believed he would be a better man when they went to church and she converted to become
catholic and renew vows. Her husband was very emotionally abusive. I saw first hand living
with them the manipulation he would do to her to get his way. His greed was never satisfied and
he would treat her poorly til he got what he wanted and his demands for her to be a stay at home
mom and quit corporate to feed his ego but still wanted to live a lifestyle as if she still worked
corporate was not realistic. Even with me he would threaten me and her and I had to put a
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restraining order on him. In retaliation he pressed fictitious charges on me in hopes I drop the
charge which was a repeat of what he did to Lori. He created a false charge to bully her into
submission. I watched her gain weight and slide into depression in 2017 after her grandmother
passed away. While it is unfortunate that she has made some bad decisions, thus matters that
resulted in this case. I was shocked to hear of the misconduct, it comes as no surprise that she
has been overly cooperative with her activities in this case and is ready to accept responsibility
for her actions. | Whenever her husband tried to reveal details she was adamant about
confidentiality and would tell him to stop disclosing any info. That’s how dedicated she is to
reforming. I believe that as we move forward, she will emerge to be a better person. She used to
cope a lot with drinking and eating cannabis edibles to sleep. Being her massage therapist (as we
both went to massage school and worked in chiropractic clinics) I am aware of her chronic paid
with her scoliosis and sciatica. I imagined she would cope like her husband has. He turned to
smoking and even more alcohol consumption but she decided to do the opposite. She wanted to
change herself and get healthy. She started working out daily and eating healthier. She cut out
alcohol and lost over 60lbs over the past year. She made a motivational page on social media and
even got sponsored by Blink Fitness Gym with a free membership to continue to post her
transformation and has motivated so many people to get healthy and to find positivity in the day
one day at a time. Lori Ann Talens has expressed deep sense of remorse in making decisions that
lead to this case and J believe in the ability to pay her debt to society. She wants so badly to get
back in the work force but with covid, homeschooling her 2 children Leilani age 5, and Enzo age
9, and the abandonment of Pacifico to be and his unwillingness to keep his scheduled visits it
was hard for her to work except with my wife. My wife Daniella is a 100% disabled veteran and
Lori Ann took it upon herself to become her caregiver. She was cooking her delicious meals that
align with her strict dietary needs that saved us money since she cooks from scratch. Lori Ann’s
passion for cooking brought her some joy and she felt happy to be needed and appreciated. Since
Pacifico left the house has a happier feeling with no more tension.

Lori went out of her way to go the extra mile with caregiving for Daniella by getting certified
and taking classes from the United States Veterans Administration and accomplished attaining
her certification. She wanted to take the class not only to help my wife but because she comes
from strong Filipino roots in which we were raised to take care of our elders. Lori’s father is 71
years old and is a 100% disabled veteran. She wanted to be able to care for both him and her
mom since her mom’s health is also deteriorating with her knees and age. When Lori took the
class she exceeded and she submerged herself into my wife’s medical history. She created a color
coded spreadsheet and was able to find some contraindications that we were unaware of in which
my wife took over the counter allergy medicine that made her have episodes that we couldn’t
understand why. Lori was able to extrapolate that data and symptoms from her daily logging and
made an impact on her positively. She motivated Daniella to get healthy, start eating better and
workout. She also reduced her drinking as well. The end result is my wife lost over 50lbs as well
and went from obese to now a normal healthy weight. With the caregiver programs Lori Ann
will have the ability to work from home, take care of her loved ones and immediately start
restituting the victims. Lori has some other job offers as well for marketing and graphics and
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sales in which she can work remotely to pay back. Her children were physically abused from
their father while he was drunk and they need their mother. Lori was dedicated and patient
homeschooling the children over the past year virtually and I believe she acknowledges her
crimes and deeply regrets getting involved. That she can prove to be an asset to the community
once again with volunteer work and pay back the victims and raise her children at the same time.
She has the mindset, willpower and is capable to pay restitution back faster if she can come back
to the workforce and be a caregiver for her family.

I currently work the covid unit, we are on the rise and this new variant is stronger and death tolls
are expected to climb. I see Lori Ann’s fear of catching covid and fear her kids might get it and
give to her parents as they would assume custody while she is away. Her love for her children
and family is unmeasurable and she wants to do anything it takes to keep them all healthy as well
as make amends with her crimes.

It is my sincere hope that the court takes this letter into consideration at the time of her
sentencing. Despite the current case, I still believe Lori Ann Talens to be an honorable person, a
valuable member of our community, and my family, and a good human being.

Sincerely,
Ina J. Crouch

Signature

QR
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Mr. Kristian Martinez Aug.30,2021
Virginia Beach, VA 23453
| 7" aes “ 7

To whom it may concern:

My name is Kristian Martinez. | am an Army combat
veteran and a friend of Lori Villanueva. | have known her for
about 20 years now through mutual friends. After getting out
of the Army, | moved back to Virginia and would run into Lori
during boxing workouts. Since moving back, we would see
each other more often and became closer. | have gotten to
know her better as a friend and a mother to her children.

| am writing this letter to ask for leniency in these tough
times. I’ve always admired her and thought she was a
exemplary citizen. She’s always pushed me to do better and
has set examples as well. She has always been generous
and selfless. She provided masks for my family and i during
the height of the pandemic as well as donated food and
helped numerous fundraisers. | admire her strength and
resilience as a single mother to push through an abusive
relationship as my mother did. | understand she made a
mistake and must make amends. She is ashamed and
embarrassed.

Thank you for your time and hope you can put this into
consideration so she can continue to care for her children as
soon as possible and continue to be an inspiration for them.
Feel free to contact me regarding the validity of this letter.

Sincerely,
Kristian Martinez

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August 31, 2021
Dear Honorable Roderick C. Young, United States District Judge,

My name is Melody Garcia, first cousin from the paternal side of Lori Ann Villanueva Talens. One can say I've
known her since her childhood. The frequency of our communication varied throughout the years in the busyness
of life and living in different states. However, as cousins, there’s that family that binds. More recently, I’ve been
that prayer warrior with her over the phone, pointing her in the direction of faith because there’s that place where
fear has to face the GOD we know.

Lori Ann was a very bright child growing up. Her father is a highly decorated officer of the US Coast Guard who
served our country for well over 20 years in many different capacities even past his retirement. Her mother has
worked at the naval exchange for as long as | can remember. Her brother has also now joined the Coast Guard to
serve our country. Lori Ann was brought up by a decent family not perfect as no one is but loving in their own way.
Our family on her paternal side are made up of different professions and one thing | can say is that we have a
strong knit of praying women in this family. The matriarch, being our late grandmother who led us all in getting to
know GOD.

Lori Ann was thrown in the world of car and bikini modeling when she was just a teenager. A world of high
demands, a world that demanded perfectionism, a world of incredible superficial pressure that | personally believe
any teenagers should never be exposed to because of its negative influences and impact in the long run. This type
of “modeling” is one of lowest forms almost hovering in the lines of one inch away from being labeled into the
pornography industry in the way women and young ladies are depicted. In this industry, you are treated as a
commodity over being respected as humanity. This started shaping up Lori Ann's mindset in a way that no 17-year-
old should ever be exposed to. | say this boldly, in the world of car imports and bikini modeling, comes the
programming of having to literally sell your image in the most toxic ways, cheered on by toxic environment laden
with toxic practices. The objectification of women, filled with consumers fueling a spiral down that also challenges
the mental health of the individual, in a very competitive environment. You get to the point as early as mid-20's
“vou are too old”. As someone who represents many forms of humanitarian global advocacy representing many
nations, | can see how such environment has impacted her choices and lifestyle. Lori Ann did attain successes and
even manage to open a business managing other models as a result. Once that programming has been established,
you do attract in your life equally toxic situations.

Lori Ann was married at an early age to her first abusive husband. These abuses came in several forms, physical
mental and emotional. She also had a son, whose is now 17 years of age who has been estranged from her by the
doings of her first ex-husband. Lori Ann was pretty much the breadwinner of that family. The benefit that modeling
had over her for years was her ability to then hide the scars, by putting on the front of being a strong brave
intelligent young mother and young wife, imperfect in many directions but tried to paint the perfect family life for
her son.

Lori Ann grew up ina household where there was a reverence for materialism, | say this not to condemn her
parents but to paint a picture of an environment of standards that became normal.

That first marriage resulted in a very difficult divorce that to this day continues to create havoc in her personal life
and create a division with her first born.
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Her second marriage has not fared any better based on the accounts of her personal shares. You do attract what
you don't heal. She once again falls in this cycle of mental physical and emotional abuse. She also once again
becomes the only solid financial provider for her family and this time now with the total of three children to raise.
There was a time of unemployment in her own life but she managed to find a way to get back into the work force
be it corporate or entrepreneurial. During the height of the COVID pandemic in 2020, she started producing masks
for distribution, that started as a give back then profitability due to costs of materials and labor.

It's easy for anyone to say that if she was that intelligent, then why make a bad decision, in fact a series of bad

decisions that lead to all this that is present? What the court doesn't know, and the court doesn't see is that there
is that humanity side of Lori Ann. She was involved indifferent nonprofit engagements. She did try to hide years of
pain behind the social media demands of smile of an Instagram lifestyle so everyone assumes life was just perfect.

| see her two younger children a 6-year-old daughter and a 9-year-old son, who will be severely negatively
impacted by the imprisonment of both parents. One can say they should have thought of that, but the fact remains
they didn’t and | know that my cousin is deeply remorseful. She loves her children deeply. That is without
question. Lori Ann did her best to provide for them, where their own biological fathers have failed in presence,
involvement, provision and love. Whatever sentence is handed, another generation will be suffering, her children.

| am asking for leniency in consideration of these two young children whose lives will be affected. The separation
from their mother offers a different trauma that will impact them long into their adulthood. The abandonment
issues, the labels, the list is long with the effects of an absentee parent. Truth be told even with her parents who
may be gaining custody of these two young children, is not of the most ideal conditions based on their age and
health conditions and the demands of raising two young children. Her father, being in his 70’s and her mother
being in her late 60’s, both dealing with medical issues. Depending on the sentence receive bodes the question,
will they be around for the longevity of when these children are determined to be of “legal age” and self-
supported? What then happens to these children should time of imprisonment be lengthy? We know that our own
foster care system also has its own challenges and often, more children also suffer in this system. | don’t know if
house arrest is a possibility along with years of community service. She is a brilliant woman whose talents can be of
value to serve community, whether in culinary, entrepreneurship and get the much-needed help in therapy and
coaching modulations, instead of years of imprisonment.

| know that in our calls, here is a mother, a cousin and a woman who is deeply remorseful, deeply hurting for what
her decisions led her to that created a ripple through the family and she has expressed, with deep fears of the
unknown for her own children should the sentencing be of length. | hurt for her and her little ones.

I've started praying with her daily and bringing Kingdom truths to her life to trust in HIM who makes all good
things. In my line of work, | have come across an incredible array of individuals whose past decisions should have
destroyed them but was given an opportunity at a new chance to right what was wrong and where that beautiful
journey has led to. One woman alone, whose years of abuse that stemmed from being violated at the age of 15
which led to toxic relationships for years, found herself in a similar circumstance of facing a 26-year imprisonment
sentencing due to a stack of charges, instead she was sentenced to a rehabilitation facility and probation. Who she
is today is one of the celebrated humanitarians? She formed a nonprofit organization called One Heart for Women
and Children, that after 13 years of its operations, serves over 20,000 individuals monthly and has provided 5
million meals. She became such a major contributor to society being rehabilitated instead of being imprisoned for
26 years. This woman was also a single mother who proved that an opportunity to start life fresh was key to
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serving hundreds of thousands because of the compassion she received. She has made the cover of an
international magazine, mainstream media news and more as she created a program that gives back to the
community whom she once had thought condemned and negated her. The deepest tragedies that became the
catalyst for their purpose to serve and love humanity at the deepest level.

| ask that you find it in your heart to offer Lori Ann an opportunity to serve time as minimal or a program that
would allow her to be with her children and not only pay what is owed, but rebuild, heal and become another
testimony of what compassion can do.

| know based on our calls that she is truly remorseful and deeply hurting as she recognizes the seriousness of the
crime she has committed and is going through depression what it has done as consequences of her decisions,
while knowing that her time with her children is limited and what she will be missing in their growth, school years,
life milestones and moments that cuts deep to her as a mother. It’s hard to exactly understand how she found
herself completely wrapped up in criminal activities that spiraled deep but Lori Ann is ready to accept the
consequences as a result

| thank you for taking the time to read this this your honor. | thank you for your consideration. | pray GOD moves
your heart in the decision you must make. Your role and responsibility are not an easy one Sir, so | pray for
everyone in this case, for the family, for the children, and for what’s ahead.

Respectfully,

DocuSigned by:

Mulody Cava
5A4E756E34068479._

Melody Garcia
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Dear Honorable Roderick C Young United States District Judge,

My name is Daniella J. Crouch and despite the circumstances for which the letter came to be
written | am rather proud to be able to offer a character reference letter of Lori Ann Talens, to
whom I’ve personally known many years, as my personal live-in caregiver, friend, family, and
god-mother of my children.

Even before becoming any of what was stated above | found Lori to be a person always there
when called and well beyond on time even without being asked. Lori is a polite responsible
person just selfless and ever serving. This is a woman who always presented herself to be and
in-fact been a family oriented and charitable person.

Upon learning about the case and charges | was surprised and troubled but more importantly
concerned. Lori has always been more than the most solid person | know but a pillar and
astounding asset to the community and everyone. Unfortunately she’s human and she made a
mistake resulting in both this case and letter. | respect this court and the faci that Lori was
charged for her crime...| respect that she pled guilty. We all have made a mistake, bad decision
or two in life. It is not true that your bad choices define who you are, especially not in a
permanent and unchangeable way. It doesn’t surprise me that she pled guilty and will be
standing in front of the court for sentencing but most importantly to take responsibility and be
held accountable with a genuinely sorrow filled heart.

It is my sincere and prayer filled hope that the court takes this letter and any other ones that
may be written into consideration at the time of Lori’s sentencing. Despite the offense/mistake
Lori’s still a honorable and solid person of good character. She’s a valuable asset to the
community and us all. | pray for leniency to allow her to come back to the workforce to pay her
debts faster. | have faith in you that you will make a compassionate decision. Lori is a very
empathetic and trusting caregiver and once released | would definitely hire her again so she
can use the income to restitute and pay her dues. She can work from home and focus on her
reforms. Prison is for accountability, reflection, rehabilitation and justice to be served. All that’s
left in my opinion is for some time and penance to be served.

Sincerely,
Daniella J Crouch
Retired Sgt Crouch
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Nathaniel Tiuseco

Gunnery Sergeant USMC/Ret.

August 27, 2021

Re: Lori Ann Talens

To The Honorable Roderick C. Young

| am writing to you as Lori Ann's boyfriend. | have known Lori Ann since our high school
days at Salem high in 94-95. Though we were not close friends in school, we reconnected
and increased our platonic friendship over the years through social media in 2010. When |
was single and she had separated from her former husband, we communicated more and
connected stronger on many levels with our similar interests and hobbies. As we became
exclusive, it wasn’t long before she was upfront and honest with me about her pending legal
issue. Starting in Dec 2020, we visited each other back and forth between VA and TN, but
since her legal travel restriction was applied, we currently spend most of our time living
together at her residence, and | travel to TN less than a week a month to take care of my
house affairs.

| am writing this letter in respect that Lori Ann pled guilty to a crime; | am writing the
letter to offer a fuller picture of her as a person, from my perspective, as the person that
spends the most time with her on a day to day basis. Lori Ann's responsibility and caring
nature stood out from many I've known in the past. She has been transparent and honest
with me since the beginning and we talk about any and all things like a married couple would,
since early in our dating relationship. Knowing about her previous abusive relationships and
how she had to rise to take care of her family virtually on her own, gave me much respect for
her independence, strong will and desire to succeed in everything that she did. More qualities
that | shared and respected of hers is of her financial responsibility, frugal saving nature and
not living paycheck to paycheck as most Americans do. Many make the mistake of relating
frugal to being cheap, but Lori Ann is the complete opposite of cheap. She generously gives
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time, money, gifts to others even though it takes from her assets or valuable time. | empathize
with her couponing nature to save and how she had to clip for the best deals during the
financial crisis of her marriage during their unemployment and his continued waste and
embezzlement of their funds. | believe her ex's actions greatly affected her decisions during
that period which led her to going down the rabbit hole of counterfeit couponing. | know how
regretful she is of those illegal actions that she had control over and is trying to do anything
to repay back her debt, repair her reputation and assist the authorities in any way that she
can to be a productive positive member of society as she used to be.

Early on, when we would video chat while apart, | would see and hear how her kids
would talk to her and how her eldest helped with his younger siblings. Also being Filipino,
strong family ties is something | valued, and respected in what | saw of her connection with
her family. When divulging my personal health issues and disabilities from decades of military
service, It came as no surprise when Lori Ann told me that she had already had certification
to be a veteran caregiver. She had already assisted in caring for her current roommate's wife,
so we had applied to the Veterans Administration for Lori Ann to be my full time caregiver as
well. Lori Ann has devoted many hours to helping me with my personal affairs by doing
research and using her expertise to create files and folders assisting me to organize my life.
| am certainly not the only one she goes out of her way to assist. She consistently puts others’
well being before her own. Even after being rejected by many family, friends and her sons
when the news broke, she still does her best to empathize and understand others. She did
her best to hide the fact that she was being harassed and cyber bullied and that she was
mentally breaking down. She has an ability to communicate her compassion and desire to
help through action. Others still reach out to her for help and advice on various things. She
motivates others to reach their fitness and nutrition goals, leading by example. She shares
her kitchen prowess with my mother, by having her over to share ideas and trade cooking
experiences. As mundane or childish as it may seem, Lori Ann even moderates online groups
for our actual friends out of the local area, to help achieve our commen goal of ‘catching them
all’ on the Pokemon Go virtual phone game. Friends of hers also know of these selfless
qualities and those that were put in the know of some of the finer details of her legal issues,
have reached out to assist in financial ways and otherwise.

Thank you in advance for your valuable time. It is my sincere hope that the court takes
this letter into consideration for maximum leniency. Despite the current case, | still believe
Lori Ann to be an honorable individual, a valuable member to the community, an amazing
mother and a good human being. She has been doing what she can to right her wrongs and
she has been completely distressed, truly remorseful for errors in judgement and has had
trouble sleeping every night over it. She had a promising job lined up with the owner very
excited to hire her then was let go once the news was out about the case. She also had to
turn down another huge job opportunity due to her travel restrictions. Worse than losing great
job offers, | fear the worst for her children who love and depend on her for so much. | saw
firsthand how distraught how her son Enzo, 9, was upon recently finding out about the legal
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troubles of his parents. She has increased her daily prayers in sorrow and asking God for
forgiveness and mercy, and | am asking the courts for their mercy, not just for Lori Ann, but
the countless others that will be severely impacted by her absence. | am available to confirm
the facts in this letter as necessary.

Sincerely,

yb IE

Nathaniel Tiuseco
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Tricia Anne Orpilla
Asian Pacific Heritage Association of Hampton Roads President

~~ irginia Beach, VA 23464

August 25,2021
Dear Honorable Roderick C Young United States District Judge,

Iam Tricia Anne Orpilla, a community leader in both the Asian
and Pacific community. I have known Lori Ann Talens for over
20 years. She and I have worked on various events throughout
the past 2 decades and she has helped volunteered with the
Asian Fest that I organize. We met over 20 years ago when she
was organizing a car show event in Virginia. She organized 3
successful car shows in Richmond convention center, Norfolk
scope, and Virgina Beach convention center in her early 20s.
She has always had the drive to work hard when she is focused
on her work. People would say her aspirations to have a car
show in Virgina Beach convention center was far fetched but she
was able to build up and successfully have the event in less than
a 2 years and it was a success with over 10,000 paid spectators
in which she traveled and promoted all over the country for
bringing in auto enthusiasts and travelers into our city at the age
of 22 years old.

Lori Ann Talens, is a hard worker and made networking her
passion. She strived to help others succeed and referred people
and businesses in all aspects of life. She was even featured in the
Virginia Pilot in 2014 on the cover of the Business section
spotlighting her success with her business and car competing.
Lori Ann is also a good mother. I see her posting so many
delicious meals from scratch on her social media. She loves
cooking for her children and even cooks and bakes food for her
two dogs. She talks and posts about how she loves cooking and
would rather save money and cook from home than eating out.
I have seen her become successful in things that she put work
into and have seen her caring ways and motherly love with her
children. As a friend, Lori was one of the first people who came
to me the day my husband passed away to comfort me. She was
there for me and I really appreciated her for coming to console
me.

It brought her a lot of courage and great shame to let me know
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about her crimes as we all were shocked to see it in the news.
She has worked so hard and done so many successful
accomplishments in her career and the community that was
admired and appreciated by many and now her reputation is
stained from her criminal mistakes. Many have turned their
back on her yet the people who know her genuine nature stand
by her side giving her moral support knowing she truly regrets
her actions and she is determined to bring honor back to her
name. The sorrow she feels is great and even though she is in
pain daily she still finds a way to motivate others. She always
tries to find a way to smile and be thankful for the day. She has
chosen to better herself and become healthy. Many times she
asks me to workout with her and to be honest I commended her
and she motivated me as well to be healthy for me and my
family.

Most would probably duck their head down and hide if in her
place but she glows as if she has been freed from her dark
chapter ready to be who she once was. Strong and healthy and
on a righteous path to make things night with her mistakes and
give back to the community.

I believe that her mistake does not define her. She gave me the
gift of her time and friendship when my husband passed away
and she brought me food and supplies for my family to make
sure I’m ok and she visited regularly. We have a closer
friendship and I know that just like before as people would
doubt her ability to before, that if given the chance she will
succeed in making a difference and help the companies and
victims. If you give her the opportunity to, she will work
diligently and over exceed expectations just like she has done in
the past. She strives to win awards and she will push hard to
make you proud and not regret giving her leniency and an
opportunity to quickly start back in the workforce. She has zero
interest in reverting to her past. She has let go of everything
toxic including her husband. J have faith you will make a wise
decision and can only hope for compassion when doing so. She
has risen from two abusive marriages and she has found strength
in God. She continues to motivate others that people can
transform to who they want to be and she 1s very humbled by
this experience.

Please feel free to contact me if you have any questions

   

ja Anne Orpilla

Asian Pacific Heritage Association of Hampton Roads President
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Honorable Roderick C. Young United States District Judge,

| first met Lori in my early twenties, July 2003. My mother owned a hair salon in Virginia
Beach and did Lori’s hair as my mom was very close to her family . When Lori was getting
married my mom was a sponsor (supporter) of her wedding . Lori has always held herself with
such dignity and grace that it was no surprise she handled many of life’s trials and tribulations
as well as she did. Sadly, her first was very abusive and the marriage ended but she
maintained a very harmonious life style with her eldest son , raising him with manners ,
devotions , cooking , cleaning and attending to his needs while teaching him compassion .

As her life moved forward a new hope was sparked with love to her second husband .
Together they brought two wonderful additions into the world thus making a family of five .
With determination she worked , maintained the house all while tending to the ever changing
worlds of their children.

As a single mom Lori has balanced a stable home life for herself and the children , continued
her education , donated to many organizations that serve our home communities and has been
committed to developing herself further as a care-giver registered with the Veterans
Association of Health .

In cultural tradition with my mom being a sponsor of her wedding to her first husband
that automatically appointed her as Lori’s god mother and we became god sisters. After that |
took over as Loris hairstylist and a acquaintance godsister relationship turned to friendship to
best friends and now looked upon as family since we spent time together whenever we could
and can to this days.

Years after , when my mom was diagnosed with cancer Lori helped care for her as to give
myself a break to mentally compose myself and to gather myself so | could stay strong for my
mom during her time’s of need and so | could tend to my family that consisted of a husband
and two school aged children .

Lori made certain that compassion fatigue would not set in , during these time’s she would
often come over and give my mom her massages as gifts of love and would bring meals to her
home and would help promote the small business my mom had started that is still ongoing
after 33 years in business as | was stretched quite thin with time management .

Moreover , | acknowledge the crimes she committed and | faced her with care, concern
and sternness . | do know she is extremely remorseful and if given the opportunity she will
flourish within the community and within her family as she has over the past few months
teaching morals to her children and others while being a certified caregiver . She hasn’t always
been “this person” that she is charged with. Her guilt and acts of remorse show daily asa
reformed human.

Your honor , before the crimes she committed caught up to her she was performing many
Good Samaritan deeds such as participating in various charity food drives, fundraising for
charity, steadily attending church, teaching her children the Godly way based off of Christian
fundamentals. Lori would feed the homeless by donating time at shelters and when time
allowed would help counsel or act as a mediator with friends facing troubling times.

In closing , she hasn’t had an easy life coming from abusive marriages . She harbors a lot
of guilt , as we all do with things we have done or choices we have made . | stand firm with
knowing this , by far is an isolated tragedy she will live with day after day .| do, with the
utmost respect, Your Honor agree and | respect that Lori has plead guilty of these crimes. As
a 15 year First Responder , | respect the criminal justice system . My intention with writing this
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letter was to offer you a more complete picture of who Lori is as a person, not just the crimes
she is guilty of .

lf you have any questions and would like to talk personally in more detail , | can be reached
at (757) | am scheduled for surgical intervention involving my neck and spine on
Tuesday, September 7 and will not be available that day or the day after as | will be learning
how to manage after the procedure .
As Always ,

| Remain,

Respectfully Yours,
cy—

Wendi Dunlo Ambrose

Virginia Beach, Virginia 23462
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August 29, 2021

Virginia Beacn, VA 4o2

Honorable Roderick C, Young, United States District Judge
Virginia Beach, VA 23456

Your Honor:
lam writing you as a character reference of my dear friend, Lori Villanueva.

Lori and I have been friends for more than 10 years. Lori has shared with me her case and the possible
outcomes in court. But, if | may, I would like to share with you the woman and mother I know and truly
care about.

believe that Lori is remorseful of her lapse in judgement. Lori is a woman of strength and acknowledges
that she will have to rebuild her character of integrity with people she mostly cares about — her family
and friends.

Tam the founder and president of the not for profit, EnJewel, an organization that fighrs against domestic
abuse and human trafficking. The one common factor I see — is rhe mother’s love for their children. I see
this fight In Lori in the many collaborated projects we have done together. Asa female minority, she has
had to build a tough shell to work in the many jobs throughout her career. Once you dig deep beneath
that shell, you will find a loving and caring person. She is a leader and mentor to many. There are only a
few people you will find that can work with so many demographics — age, gender or race — unless you
have the experience and personality like Lori. You can count on her and she will have your back. It’s
amazing how she juggles her work load and to raise her incredible children. She has had her personal.
struggles, but you wouldn’t know it. Her tough shell allows her to be that great leader at work and the
loving mom at home. I wish I had more woman volunteers like her in projects that we do that impact
community. Whether it’s fundraising, finding good media followers or having the compassion to hold on
to a child until we can find a safe sanctuary — Lori is there.

Task that you consider leniency in Lori’s court case. I believe Lori has helped so many people find their
safe sanctuary— hope that Lori is given that same chance. Lori is a model citizen — it is my hope that you
take this into consideration.

Sincerely,

Naomi Estaris

 
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August 29, 2021
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Virginia Beach, VA 23462

Honorabie Roderick C. Young, United States District Judge
Virginia Beach, VA 23456

Your Honor:
lam writing you to urge leniency in the sentencing of my friend, Lori Villanueva.

| have known Lori for more than 10 years. | am very much aware of her actions that she is being
convicted of — but | would like to share with you a perspective of the person | know and care about.

| believe that Lori is remorseful of her ill will and bad judgement. | understand that she is being very
cooperative and doing whatever is necessary. Lori has shared her wrong-doing and that she knows
that she will have to work hard to bring back the character of integrity that she once had — which she is
most known for and painfully acknowledges that this is so hard to rebuild amongst her family and
friends.

As a business owner of a travel agency and also a director of our Philippine American Chamber of
Commerce of Virginia, | know Lori through many service projects that we have done together
collaborating in her jobs such as Windstream and AT & T to help give back to our community in
Hampton Roads. tn each of these projects Lori showed a passion to help not because of her position
with these companies but because she was giving from her heart. One compelling project that comes to
mind — is our fight to help with the people of Leyte, Philippines — most known as Project Typhoon
Haiyan. In less than 2 weeks, we assembled our community and created small media events that led to
our key event at Granby Theater. In two short weeks, we were able to raise over $50,000. This is
through relationships that were built over time and because of hard work and tenacity — we were able
to make this a reality.

! ask that you consider leniency in Lori's sentencing. | believe in giving people second chances — hope
that Lori is given that chance. Lori is a model citizen — it is our hope that your consideration will allow
her to continue in giving of her passion — in helping others.

_-— Sincerely,
or

 
 
 

 

 

“ Roy Estaris
